                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                    (Wilkes-Barre)
 IN RE:
 Geddes Sean Schubert Gibbs                                Case No. 5:24-bk-00457-MJC
        Debtor
                                                           Chapter 13
 Freedom Mortgage Corporation,
         Movant

 vs.
 Geddes Sean Schubert Gibbs
        And                                                11 U.S.C. §362
 Natalie Gibbs, (NON-FILING CO-DEBTOR)

         Respondent



                  ORDER MODIFYING SECTION §362 AUTOMATIC STAY


         Upon consideration of the Motion of Freedom Mortgage Corporation (Movant), and

after Notice of Default and the filing of a Certification of Default, Dkt. # 68, it is:

        ORDERED          AND       DECREED:         that    Movant       shall    be      permitted     to

reasonably communicate with Debtor and Debtor's counsel to the extent necessary to

comply with applicable non-bankruptcy law; it is further

        ORDERED that Relief from the Automatic Stay of all proceedings, as provided under 11
U.S.C. §362 is granted with respect to 59 Coach Road, Stroudsburg, PA 18360 (hereinafter the

Premises) (as more fully set forth in the legal description attached to the Mortgage of record

granted against the Premises), as to allow Movant, its successors or assignees, to proceed with its

rights under the terms of said Mortgage; it is further

        ORDERED that the Trustee is directed to cease making any further distributions to the

Movant; it is further




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          ORDERED that Rule 4001(a)(3) is not applicable and Freedom Mortgage

 Corporation may immediately enforce and implement this Order granting Relief from the

 Automatic Stay; and it is further

        ORDERED that FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1 is no

 longer applicable to Movant, its successors and assignees.




                                                     By the Court,



                                                     _____________________________
                                                     Mark J. Conway, Bankruptcy Judge
                                                     Dated: November 4, 2024




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